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          EXHIBIT A
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Ryan M. Billings

From:                NYSD_ECF_Pool@nysd.uscourts.gov
Sent:                Friday, June 19, 2020 2:18 PM
To:                  CourtMail@nysd.uscourts.gov
Subject:             Activity in Case 1:20-cv-03746-LJL Convergen Energy LLC et al v. Brooks et al Set Motion and R&R
                     Deadlines/Hearings


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                                              Southern District of New York

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Case Name:          Convergen Energy LLC et al v. Brooks et al
Case Number:        1:20‐cv‐03746‐LJL
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Docket Text:
Set/Reset Deadlines as to [57] MOTION to Serve the summons and complaint on Defendants
Daniel Escandon Garcia, Ramon Uriarte Inchausti, Chipper Investment SCR, SA, and Urincha
SL by personal service, email, postal channels, or on their counsel by email. Motion Hearing
set for 7/17/2020 at 03:30 PM before Judge Lewis J. Liman. (ama)


1:20‐cv‐03746‐LJL Notice has been electronically mailed to:

Ryan Matthew Billings    rbillings@kmksc.com, eleopold@kmksc.com

Dov Byron Gold    dgold@seidenlegal.com

Ben LaFrombois     blafrombois@vonbriesen.com, sflunker@vonbriesen.com

William Fischer   wfischer@vonbriesen.com, ekrings@vonbriesen.com

1:20‐cv‐03746‐LJL Notice has been delivered by other means to:




                                                             1
